                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF TENNESSEE
                              AT KNOXVILLE



 BOYD SMITH, NANCY SMITH,                )
 JOEY SMITH, JEFFREY SMITH,
 JILL SMITH, BESSIE HACKNEY,             )
 WILLIAM GRAY, PEGGY GRAY,
 GREGORY HOUSTON, ERNEST                 )
 NICELY, and PATRICIA NICELY,
                                         )
            Plaintiffs
                                         )
                         v.                              No. 3:04-cv-591
                                         )
 FIRST CENTURY BANK, CONNIE
 DYER, SHERI LAWSON, and                 )
 DELORIS GRAVES,
                                         )
            Defendants
                                         )
 and
                                         )
 FIRST CENTURY BANK,
                                         )
            Counter-Plaintiff
                                         )
                         v.
                                         )
 BOYD SMITH, NANCY SMITH,
 JOEY SMITH and JEFFREY SMITH,           )

            Counter-Defendants           )




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                                       ORDER



              For the reasons set forth in the Memorandum Opinion this day passed

 to the Clerk for filing, it is hereby ORDERED that the motion for partial summary

 judgment filed by defendant First Century Bank (FCB) [Doc. 205] be, and the same

 hereby is, GRANTED to the extent that the cause of action set forth in Counts I

 (violation of the Racketeer Influenced and Corrupt Organizations Act [civil RICO], 18

 U.S.C. §§ 1961, et seq.) in the [corrected] consolidated amended complaints is

 DISMISSED WITH PREJUDICE and the following claims are DISMISSED

 WITHOUT PREJUDICE against all individual defendants:


                 (1)     Violation of the Tennessee Identity Theft
              Deterrence Act of 1999, T.C.A. §§ 47-18-2101, et seq.,
              (Count IV);

                 (2)     Violation of the Tennessee Consumer Protection
              Act, T.C.A. §§ 47-18-101, et seq., (Count V);

                 (3)    Violation of the Tennessee Financial Records
              Privacy Act, T.C.A. §§45-10-101, et seq., (Count VI);

                 (4)      Breach of fiduciary duty (Count VII);

                 (5)      Conversion (Count VIII);

                 (6)      Negligence (Count IX); and

                 (7)      Equitable relief (Count X).1

       1
        The court notes for the record that all other allegations of the amended complaint
 (Counts II, III, and XI) state causes of action only against FCB.

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              Additionally, in view of the above actions, the following motions are

 hereby DENIED AS MOOT:


               1.       Motion for summary judgment filed by defendant
              Deloris Graves [Doc. 145];

               2.       Motion for summary judgment filed by defendant
              Sheri Lawson [Doc. 203]; and

                 3.       That prong of the motion to dismiss addressing
              the civil RICO cause of action filed by FCB [Doc. 56].2


              Finally, the parties are hereby DIRECTED to amend the caption

 accordingly with respect to all future filings to indicate that the individual defendants

 are no longer parties to this litigation.



                          ENTER:


                                                         s/ James H. Jarvis
                                                  UNITED STATES DISTRICT JUDGE




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          The court recognizes that the other two prongs of FCB’s motion to dismiss are still
 ripe for adjudication and anticipates addressing those issues in the very near future.

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